Case 1:24-cv-01094-LJV Document 1 Filed 11/12/24 Page 1 of 26

(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

UNITED STATES DISTRICT COURT

for the

Western District of New York

(to be filled in by the Clerk's Office)

Catdaw, Enc S

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fil in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names ofall the defendants cannot fit in the space above, please
write “see alached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual's
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to |proceed in
forma pauperis.

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The Parties to This Complaint

The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
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. All other names by which
you have been known: “ED Jumbo, H 44. .
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The Defendant(s)

Provide the information below for each defendant
individual, a government agency, an organization,
listed below are identical to those contained in the above caption.
the person’s job or title (if mown) and ch
individual capacity or official capacity,

named in the complaint, whether the
For an individual defe:

or both. Attach additional pages if needed.

or a corporation. Make sure that the d

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Defendant No. 1 .
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City State Zip Code

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Defendant No. 2

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Defendant No. 3

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Defendant No. 4 ‘ -
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PAlindividual capacity [7 Official capacity
IL Basis for Jurisdiction

Under 42 US.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that
C] Federal officials (a Bivens claim)

TF tstate or local officials (a § 1983 claim)

cc

B. Section 1983 allows claims alleging the

apply):

deprivation of any rights, privileges, or immunities secured by

the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what

federal constitutional or statutory right(s)

do you claim is/are being violated by state or local officials?

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Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you

are suing under Bivens, what constitution
officials?

al right(s) do you claim is/are being violated W federal

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Itt.

dD. Section 1983 allows defendants to be found liable only when they have acted “under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted

under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

Sen a he belual .

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):
Pretrial detainee .

Civilly committed detainee
Immigration detainee
Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

OOOOOW

Other (explain)

StatementofClim <eg otto dehed

State as briefly as possible the facts of your case. Describe how each defendant was personally ir

volved in the

alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include

further details such as the names of other persons involved in the events giving rise to your claim
any cases or statutes. If more than one claim is asserted, number each claim and write a short and
statement of each claim in a separate paragraph, Attach additional pages if needed.

s. Do not cite
plain

A If the events giving rise to your claim arose outside an institution, describe where and when they arose.
“Th uuSr ak Ec MC on AveusT ab, Qoa2
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B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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ey 1 int for Violation of Civil Riehts (Prisoner)

Cc, What date and approximate time did the events giving rise to your claim(s) occur?

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D. What are the facts underlying your claim(s)? (For example: What happened to you? Wha did what?
Was anyone else involved? Who else saw what happened?)

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Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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VL Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cages Or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VIL.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall

be brought

with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined

*

in any jail, prison, or-other correctional facility until such administrative remedies as are available
exhausted.” .

Administrative remedies are also known as grievance procedures. Your case may be dismissed if y
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[| Yes
KJ No

If yes, name the jail, prison, or other correctional facility where you were confined at the
events giving rise to your claim(s).

ou have not

time of the

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance

procedure?

1 ves
[] No

C] Do not know

Cc Does the grievance procedure at the jail, prison, or other correctional facility where yout claim(s) arose

cover some or al] of your claims?

] Yes

Ane

[| Do not know

If yes, which claim(s)?

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1 aplaint for Violati ivi] Rights (Prisoner)

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

EF] Yes
£4 No

Ifno, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility? .

[] Yes
JA No

E. If you did file a grievance:

1. Where did you file the grievance?

NUN

2, What did you claim in your grievance?

wih

3. What was the result, if any?

NLS

4, What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

NLA

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ev. 01/21) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

WIN

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

WIA

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

N}

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.) |

VI Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds thaf it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under|imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).
To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?
[| ves
tno

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

NIK

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(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)
A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this

action?

If your answ

more than one lawsuit, describe the additional lawsuits on another page, using the same

1. Parties to the previous lawsuit

Plaintifi(s) WEN
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)

er to A is yes, describe each lawsuit by answering questions 1 through 7 bela

format.)

w. (ff there is

N LK

3. Docket or index number

Nik

4, Name of Judge assigned to your case

NLA

5. Approximate date of filing lawsuit

vA

6. Is the case still pending?

[| Yes
No

If no, gi

NIA

ve the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was Judgment entered

in your favor? Was the case appealed?)

Nip

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(Rev, 01/21) Complaint for Violation of Civil Rights (Prisoner)

Ix. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass) cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have ©
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related|papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: hue ab ei =, 209 Lf
Signature of Plaintiff “SK 4 ft aur LA

Printed Name of Plaintiff Evie (oy nae .

Prison Identification # “UUG

Prison Address YV.0- Box AG ts
Le kaoct N-4 Lud dS

City State Zip Code

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

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ee

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JS 44 (Rev. 08/18)

The JS 44 civil cover sheet and the information contained herein neither replace nor suppl

CIVIL COVER SHEET

26

ement the filing and service of pleadings or other papers as

of 26

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wired by law, except as

provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) :
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(EXCEPT IN U.S. PLAINTIFF CASES) \) (IN U.S. PLAINTIFF CASES ONLY) —
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(ce) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if. Known)
Il. BASIS OF JURISDICTION (Place an “X™ in One Box Only) -Ji0, CITIZENSHIP OF PRINCIPAL PARTIES (Piope on “X™ in One Box for Plaintiff
(For Diversity Cases Only) apd One Box for Defendant)
1 1 U.S. Government $73 Federal Question P DEF PIF DEF
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